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                            UNITED STATES DISTRICT COURT
                            SOUTHERN DISTRICT OF FLORIDA

                            Case No. 17-62416-Civ-COOKE/HUNT

  BILAL SALEH, individually and on
  behalf of a class of others similarly
  situated,

         Plaintiff,

  vs.

  CRUNCH, LLC, a Delaware limited
  liability company, CRUNCH
  FRANCHISING, LLC, a Delaware
  limited liability company and DELIU,
  LLC, a Delaware limited liability
  company doing business as Crunch
  Fitness Oakland Park,

        Defendants.
  ___________________________________/
      ORDER GRANTING IN PART AND DENYING IN PART MOTION TO DISMISS
         THIS CAUSE came before me on Plaintiff’s Rule 41(a)(2) Motion to Dismiss
  (“Motion”) (ECF No. 72). Defendants Crunch, LLC and Crunch Franchising, LLC1 filed a
  response in opposition (ECF No. 74), to which Plaintiff filed a reply (ECF No. 75). The
  matter is now ripe for review. For the reasons discussed below, Plaintiff’s Motion is granted
  in part and denied in part.
         I.      BACKGROUND
         Plaintiff filed this putative class action, alleging Defendants violated the Telephone
  Consumer Protection Act (“TCPA”) by sending unsolicited, autodialed text messages to
  Plaintiff’s cellular phone. While Plaintiff reviewed and approved the allegations in his
  Complaint prior to filing, Plaintiff’s testimony at his recent deposition differed from the facts
  provided in his Complaint. Specifically, in his Complaint, Plaintiff alleged that he visited
  Defendants’ website and filled out and submitted an online form, which included providing

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   Defendant DeLiu has filed no response to Plaintiff’s Motion, so I will assume it has no
  objection to Plaintiff’s requested relief. Therefore, when I refer to “Defendants” in this
  Order, it shall only refer to Defendants Crunch, LLC and Crunch Franchising, LLC.
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  his phone number. At his deposition, Plaintiff testified that he never visited Defendants’
  website and never provided Defendants’ with his telephone number. Accordingly, Plaintiff
  seeks to dismiss his Complaint without prejudice, as his “inconsistent” recollections appear
  “likely to impede on his ability to act as a suitable class representative in this action.”
  Motion, p. 3.
         Defendants claim that this change in testimony is evidence of bad faith, as Plaintiff’s
  deposition testimony was not only different from the allegations in the Complaint, but
  contrary to the verified interrogatory responses Plaintiff provided to Defendants
  approximately one week before his deposition. Accordingly, Defendants request the instant
  action be dismissed with prejudice and without waiving their right to seek attorneys’ fees.
         II.      LEGAL STANDARD
         Federal Rule of Civil Procedure 41(a) governs voluntary dismissals by plaintiffs. If an
  opposing party has served an answer or a motion for summary judgment, a plaintiff can
  only dismiss an action with approval of the Court. Fed. R. Civ. Proc. 41(a)(2). While “[a]
  voluntary dismissal without prejudice is not a matter of right, . . . in most cases a voluntary
  dismissal should be allowed unless the defendant will suffer some plain prejudice other than
  the mere prospect of a second lawsuit.” Fisher v. Puerto Rico Marine Mgmt., Inc., 940 F.2d
  1502, 1502–03 (11th Cir. 1991) (internal citations omitted). “The purpose of Rule 41(a)(2)
  ‘is primarily to prevent voluntary dismissals which unfairly affect the other side, and to
  permit the imposition of curative conditions.’” Arias v. Cameron, 776 F.3d 1262, 1268 (11th
  Cir. 2015) (quoting McCants v. Ford Motor Co., Inc., 781 F.2d 855, 856 (11th Cir.1986)
  (citation and internal quotation marks omitted)). “While the district court should keep in
  mind the interests of the defendant, . . . , the court should also weigh the relevant equities
  and do justice between the parties in each case, imposing such costs and attaching such
  conditions to the dismissal as are deemed appropriate.” Id. at 1269. “A plaintiff ordinarily
  will not be permitted to dismiss an action without prejudice under Rule 41(a)(2) after the
  defendant has been put to considerable expense in preparing for trial, except on condition
  that the plaintiff reimburse the defendant for at least a portion of his expenses of litigation.”
  McCants v. Ford Motor Co., 781 F.2d 855, 860 (11th Cir. 1986). “[U]ltimately, the
  determination of whether to grant such a dismissal falls within the sound discretion of the



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  district court.” Id. (citing Fisher, 940 F.2d at 1503 (citing LeCompte v. Mr. Chip, Inc., 528 F.2d
  601, 604 (5th Cir. 1976))).
         III.    DISCUSSION
         Defendants “agree that [P]laintiff cannot in good faith continue to prosecute this
  action;” however, Defendants claim the case should be dismissed with prejudice and they
  should be able to seek recovery of their attorneys’ fees because they have been forced to
  incur fees “well into the six figures” to defend against “baseless claims . . . predicated on
  false allegations.” Resp., ECF No. 74, p. 2, 5. In addition to Plaintiff remembering a new
  version of the facts stated in his Complaint and verified interrogatory responses, Defendants
  claim that records produced in this lawsuit show that someone visited Defendants’ website
  and inputted Plaintiff’s information into the online form. Resp., at p. 5. According to
  Defendants, this indicates someone attempted to manufacture a TCPA claim against them.
         Unsurprisingly, Plaintiff and his counsel hotly contest the alleged impropriety of the
  instant lawsuit and the significance of Plaintiff’s deposition testimony, pointing out that
  Plaintiff’s new version of facts would still not absolve Defendants of liability under the
  TCPA. See Coleman v. Rite Aid of Georgia, Inc., 284 F. Supp. 3d 1343 (N.D. Ga. 2018) (“[A]
  TCPA caller [is required] to obtain prior express written consent, as opposed to the
  statutorily required prior express consent.” (citations omitted)). While this is true, I do find
  it problematic that Plaintiff gave contradictory deposition testimony approximately one
  week after he served his verified interrogatory responses and that he stated during his
  deposition he was “told” he visited the website, but did not recall visiting the website. Pl.’s
  Depo, 102:1–3, ECF No. 74-2.
         Nevertheless, on the record before me, I cannot say that this action was baseless at
  the time it was filed. Further, Defendants do appear to have incurred significant fees in
  litigating this case. After weighing the interest of Defendants in recouping some of their
  legal fees with Plaintiff’s interest in dismissing a lawsuit in which he is not a suitable lead
  plaintiff, I find the parties’ competing interests are balanced by dismissing the case without
  prejudice but allowing Defendants to seek attorneys’ fees under 28 U.S.C. § 1927, Rule 11,
  or any other similar relief that may be available to Defendants.




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         IV.       CONCLUSION
         Accordingly, for the foregoing reasons, it is hereby ORDERED and ADJUDGED
  as follows:
         1. Plaintiff’s Motion (ECF No. 72) is GRANTED in part and DENIED in part.
                Plaintiff’s Complaint is DISMISSED without prejudice.
         2. The Court shall retain jurisdiction to adjudicate issues related to Defendants’
                attorneys’ fees and costs20 pursuant to 28 U.S.C. § 1927, Rule 11, or any other
                similar relief available to Defendants.
         3. The Clerk shall CLOSE this case. All pending motions, if any, are DENIED as
                moot.
         DONE and ORDERED in chambers, at Miami, Florida, this 20th day of June 2018.




  Copies furnished to:
  Patrick M. Hunt, U.S. Magistrate Judge
  Counsel of record




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